                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

SCHNEIDER FINANCE INC.,

                      Plaintiff,

               v.                                           Case No. 21-C-427

SMART AUTO WHOLESALE LLC, et al.,

                      Defendants.


                                            ORDER


       On August 2, 2021, Plaintiff filed a status report indicating that the parties had reached a

settlement in this action. The Court subsequently entered an order on August 3, 2021, directing

the parties to file a motion to dismiss the case or a stipulation within 30 days, unless counsel

requested additional time in writing. After the deadline to file a motion for an extension of time

or a stipulation of dismissal had passed, the Court entered an order on September 9, 2021,

dismissing this case. On October 7, 2021, the parties filed a joint motion to amend the September

9, 2021, order dismissing the case and to reopen the case for entry of a stipulated judgment. The

parties assert that, after the Court’s entry of the order dismissing the case, they continued to

negotiate in good faith and ultimately reached an agreement on the language in the settlement

agreement on October 6, 2021. See Fed. R. Civ. P. 59(e). Even though the parties did not request

additional time to finalize their settlement agreement as required by the Court’s August 3, 2021,

order, the Court will grant the motion.

       IT IS THEREFORE ORDERED that the joint motion to correct the September 9, 2021,

order dismissing the case and to reopen the case for entry of a stipulated judgment (Dkt. No. 20)

is GRANTED.




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       IT IS FURTHER ORDERED that the Court’s September 9, 2021, order (Dkt. No. 19) is

VACATED.

       IT IS FURTHER ORDERED that Plaintiff’s claims against Defendant Brandon Foster

are dismissed with prejudice pursuant to the parties’ settlement.

       IT IS FURTHER ORDERED that the Clerk is directed to enter judgment in favor of

Plaintiff Schneider Finance Inc. and against Defendant Smart Auto Wholesale LLC in the total

amount of $200,000.00.

       Dated at Green Bay, Wisconsin this 13th day of October, 2021.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




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